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    5
        Attorney for Defendants
    6   TAYLOR SWIFT, KARL MARTIN SANDBERG,
        KARL JOHAN SCHUSTER, SONY/ATV MUSIC
    7   PUBLISHING LLC, KOBALT MUSIC
        PUBLISHING AMERICA INC.,
    8   BIG MACHINE LABEL GROUP, LLC and
        UNIVERSAL MUSIC GROUP, INC.
    9
  10                        UNITED STATES DISTRICT COURT
  11                      CENTRAL DISTRICT OF CALIFORNIA
  12                                WESTERN DIVISION
  13    SEAN HALL d.b.a. GIMME SOME         )         Case No. 2:17−cv−06882 MWF (ASx)
        HOT SAUCE MUSIC, an individual,     )
  14    and NATHAN BUTLER d.b.a. FAITH      )
        FORCE MUSIC, an individual,         )         DECLARATION OF PETER J.
  15                                        )         ANDERSON IN SUPPORT OF
                     Plaintiffs,            )         DEFENDANTS’ MOTION TO
  16                                        )         DISMISS FOR FAILURE TO
                vs.                         )         STATE A CLAIM
  17                                        )
        TAYLOR SWIFT, an individual, KARL )
  18    MARTIN SANDBERG, an individual, )                   [Fed. R. Civ. P. 12(b)(6)]
        KARL JOHAN SCHUSTER, an             )
  19    individual, SONY/ATV MUSIC          )
        PUBLISHING, LLC a limited liability )         Date: February 5, 2018
  20    company, KOBALT MUSIC               )         Time: 10:00 a.m.
        PUBLISHING AMERICA INC. a           )
  21    Delaware Corporation, BIG MACHINE )               Courtroom of the Honorable
        LABEL GROUP, LLC, a limited         )               Michael W. Fitzgerald
  22    liability company, UNIVERSAL        )             United States District Judge
        MUSIC GROUP, INC., a California     )
  23    Corporation, and DOES 1-5,          )
                                            )
  24                 Defendants.            )
                                            )
  25                                        )

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    1                     DECLARATION OF PETER J. ANDERSON
    2         I, Peter J. Anderson, declare and state:
    3         1.     I am an attorney admitted to practice before this Court and all Courts of
    4   the State of California. I have personal knowledge of the following facts and could
    5   competently testify to these facts if called upon to do so.
    6         2.     I represent defendants Taylor Swift, Karl Martin Sandberg, Karl Johan
    7   Schuster, Sony/ATV Music Publishing LLC, Kobalt Music Publishing America Inc.,
    8   Big Machine Label Group, LLC and Universal Music Group, Inc., in this action.
    9   This Declaration is submitted in support of their Motion to Dismiss plaintiffs’
  10    copyright infringement claim for failure to state a claim.
  11                      The Works Identified in Plaintiffs’ Complaint
  12          3.     In their Complaint (Doc. 1), plaintiffs allege that they authored the
  13    musical composition titled Playas Gon’ Play recorded by the musical group 3LW.
  14    For example, plaintiffs allege at page four of their Complaint that:
  15                 “15. In 2001, Plaintiffs Hall and Butler co-authored the song
  16          entitled ‘Playas Gon’ Play’. ‘Playas Gon’ Play’ was recorded by the
  17          girl group 3LW and released to the public in May 2001.”
  18          4.     Submitted with this Declaration is a CD containing as Exhibit 1 a true
  19    and correct sound recording of the sound recording Playas Gon’ Play by the musical
  20    group 3LW identified in plaintiffs’ Complaint.
  21          5.     Attached to this Declaration as Exhibit 2 is a true and correct copy of
  22    the lyrics of Playas Gon’ Play that I obtained from the Google Play Music Internet
  23    website, https://play.google.com/music/preview/Tbpru3lixcooycl5slribeqa7qy?lyrics
  24    =1&utm_source=google&utm_medium=search&utm_campaign=lyrics&pcampaigni
  25    d=kp-lyrics. I have compared the lyrics in the sound recording Playas Gon’ Play
  26    and the lyrics attached as Exhibit 2 and believe Exhibit 2 is accurate in all material
  27    respects.
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    1         6.     In their Complaint, plaintiffs also allege that the copyright they claim in
    2   the Playas Gon’ Play musical composition is infringed by the musical composition
    3   and sound recording titled Shake It Off. For example, plaintiffs allege at page four
    4   of their Complaint that:
    5                “26. In 2014, Defendants Swift, Sandberg, and Schuster co-
    6         authored the musical composition entitled ‘Shake it Off’. The
    7         composition was recorded and performed by Defendant Swift and was
    8         released to the general public in August 2014.
    9                “27. ‘Shake it Off’ copies and includes Plaintiffs’ lyrical phrase
  10          ‘Playas, they gonna play / And haters, they gonna hate’ by featuring the
  11          lyrical phrase ‘Cause the players gonna play, play, play, play, play and
  12          the haters gonna hate, hate, hate, hate, hate’ prominently throughout the
  13          chorus of ‘Shake it Off’. In all, the infringed copyrighted material
  14          accounts for roughly 20% of ‘Shake if Off’.”
  15          7.     The CD submitted with this Declaration contains as Exhibit 3 a true and
  16    correct sound recording of Shake It Off, featuring Ms. Taylor, referenced in
  17    plaintiffs’ Complaint.
  18          8.     Attached to this Declaration as Exhibit 4 is a true and correct copy of
  19    the lyrics of Shake It Off from the digital booklet – the digital equivalent of physical
  20    album’s liner notes – for the album 1989, on which Shake It Off appears. I have
  21    compared the lyrics in the sound recording Shake It Off and the lyrics attached as
  22    Exhibit 4 and believe they are the same.
  23               The Works Defendants Request the Court Judicially Notice
  24          9.     In support of defendants’ request for judicial notice that the song
  25    Dreams by Fleetwood Mac (1977) includes the lyrics “Players only love you when
  26    they’re playing”:
  27                 (a)    The CD submitted with this Declaration contains as
  28          Exhibit 5 a true and correct sound recording of Dreams by Fleetwood
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    1         Mac, which I purchased from iTunes;
    2                (b)   Attached to this Declaration as Exhibit 6 is a true and
    3         correct copy of the results of the search I conducted of the United States
    4         Copyright        Office’s       searchable       Internet       database,
    5         http://cocatalog.loc.gov, for the musical composition Dreams by Stevie
    6         Nicks and which state that the copyright in Dreams was originally
    7         registered with the Copyright Office on February 10, 1977 and renewed
    8         on December 14, 2005; and
    9                (c)   Attached to this Declaration as Exhibit 7 is a true and
  10          correct copy of the lyrics of Dreams that I copied and pasted from
  11          Google.com, marked to show the relevant lyrics. I have compared the
  12          lyrics in the sound recording Dreams and the lyrics attached as Exhibit
  13          7 and believe they are the same.
  14          10.    In support of defendants’ request for judicial notice that “Player” was
  15    the name of a 1970s musical group, attached to this Declaration as Exhibit 8 is a true
  16    and correct copy of the results of the search I conducted on the Internet music
  17    database, www.allmusic.com, for the musical group Player, and which state that the
  18    musical group Player was formed in 1977.
  19          11.    In support of defendants’ request for judicial notice that “Playa” was
  20    the name of a 1990s R&B and hip hop musical group, attached to this Declaration as
  21    Exhibit 9 is a true and correct copy of the results of the search I conducted on the
  22    Internet music database, www.allmusic.com, for the musical group Playa, and which
  23    state that the R&B musical group Playa was formed in the 1990s.
  24          12.    In support of defendants’ request for judicial notice that The Player is
  25    the title of a 1992 motion picture based on a 1988 novel titled The Player:
  26                 (a)   Attached to this Declaration as Exhibit 10 is a true and
  27          correct copy of the results of the search I conducted of the Copyright
  28          Office’s searchable Internet database, for the motion picture The Player
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    1         and which states that the copyright in that motion picture was registered
    2         with the Copyright Office on September 4, 1992 and the motion picture
    3         was created and first published in 1992.
    4                (b)     Attached to this Declaration as Exhibit 11 is a true and
    5         correct copy of the results of the search I conducted of the Copyright
    6         Office’s searchable Internet database, for the novel The Player by
    7         Michael Tolkin and which states that the copyright in that novel was
    8         registered with the Copyright Office on August 26, 1988 and the novel
    9         was created in 1987 and first published in 1988.
  10          13.    In support of defendants’ request for judicial notice that the song
  11    Psychobetabuckdown by Cypress Hill (1991) includes the lyrics “You’re looking at
  12    the Tribe, and you’re a hater”:
  13                 (a)     The CD submitted with this Declaration contains as
  14          Exhibit 12 a true and correct sound recording of Psychobetabuckdown
  15          by Cypress Hill, which I purchased from iTunes;
  16                 (b)     Attached to this Declaration as Exhibit 13 is a true and
  17          correct copy of the results of the search I conducted of the Copyright
  18          Office’s searchable Internet database, for the sound recording
  19          Psychobetabuckdown by Cypress Hill and which states that the
  20          copyright in the album Cypress Hill was registered with the Copyright
  21          Office on September 12, 1991, the album was created and first
  22          published in 1991 and the album includes the sound recording
  23          Psychobetabuckdown; and
  24                 (c)     Attached to this Declaration as Exhibit 14 is a true and
  25          correct copy of the lyrics of Psychobetabuckdown that I obtained from
  26          the          Google         Play    Music          Internet     website,
  27          https://play.google.com/music/preview/Todh3rqevp6emwvvh6iaud6k4e
  28          y?lyrics=1&utm_source=google&utm_medium=search&utm_campaign
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    1         =lyrics&pcampaignid=kp-lyrics.       I have compared the lyrics in the
    2         sound recording Playa Hata and the lyrics attached as Exhibit 14 and
    3         believe they are the same.
    4         14.    In support of defendants’ request for judicial notice that Player’s Ball is
    5   the title of a 1993 Outkast song:
    6                (a)     Attached to this Declaration as Exhibit 15 is a true and
    7         correct copy of the results of the search I conducted on the Internet
    8         music database, www.allmusic.com, for the recorded composition
    9         Player’s Ball by the music group Outkast, and which state that Player’s
  10          Ball appears on the album A LaFace Family Christmas released in 1993
  11          and also on Outkast’s debut album released in 1994; and
  12                 (b)     Attached to this Declaration as Exhibit 16 is a true and
  13          correct copy of the results of the search I conducted of the Copyright
  14          Office’s searchable Internet database, for Player’s Ball and which states
  15          that the copyright in the music video of Player’s Ball performed by
  16          Outkast was created and first published in 1993.
  17          15.    In support of defendants’ request for judicial notice that Playa Playa is
  18    the title of a 1994 Big Mike song, attached to this Declaration as Exhibit 17 is a true
  19    and correct copy of the results of the search I conducted of the Copyright Office’s
  20    searchable Internet database, for the sound recording Playa Playa by Big Mike and
  21    which states that the copyright in that sound recording was registered with the
  22    Copyright Office on October 11, 1994 and the sound recording was created and first
  23    published in 1994.
  24          16.    In support of defendants’ request for judicial notice that Playa Hata is
  25    the title of a 1995 song by Luniz and includes the lyrics “So playa hataz hate me,”
  26    “Why you wanna playa hate on me?” and “Why you playa hate?”:
  27                 (a)     The CD submitted with this Declaration contains as
  28          Exhibit 18 a true and correct sound recording of Playa Hata by Luniz,
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    1         which I purchased from iTunes;
    2                (b)     Attached to this Declaration as Exhibit 19 is a true and
    3         correct copy of the results of the search I conducted of the Copyright
    4         Office’s searchable Internet database, for the sound recording Playa
    5         Hata by Luniz and which states that the copyright in that sound
    6         recording was registered with the Copyright Office on December 27,
    7         1995 and the sound recording was created and first published in 1995;
    8         and
    9                (c)     Attached to this Declaration as Exhibit 20 is a true and
  10          correct copy of the lyrics of Playa Hata by Luniz that I obtained from
  11          the          Google      Play       Music        Internet      website,
  12          https://play.google.com/music/preview/Tomg2zap54ylby2nvete3lgi3em
  13          ?lyrics=1&utm_source=google&utm_medium=search&utm_campaign
  14          =lyrics&pcampaignid=kp-lyrics, marked to show the relevant lyrics. I
  15          have compared the lyrics in the sound recording Playa Hata and the
  16          lyrics attached as Exhibit 20 and believe they are the same except that
  17          the chorus – marked on that Exhibit – is repeated one additional time in
  18          the sound recording Playa Hata.
  19          17.    In support of defendants’ request for judicial notice that the song Man
  20    U Luv ta Hate by Sir Mix-A-Lot (1996) includes the lyrics “If you want to playa
  21    hate,” “Playa’s in the house can you feel me, Got these playa haters lookin’ at me
  22    silly,” “Cause with these haters you gotta keep your strap,” “Boy get a job and quit
  23    player hatin’”:
  24                 (a)     The CD submitted with this Declaration contains as
  25          Exhibit 21 a true and correct sound recording of Man U Luv ta Hate by
  26          Sir Mix-A-Lot, which I purchased from iTunes;
  27                 (b)     Attached to this Declaration as Exhibit 22 is a true and
  28          correct copy of the results of the search I conducted of the Copyright
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    1         Office’s searchable Internet database, for the sound recording Man U
    2         Luv ta Hate by Sir Mix-A-Lot and which states that the copyright in the
    3         album Return of the Bumpasauras by Sir Mix-A-Lot was registered
    4         with the Copyright Office on September 17, 1996, the album was
    5         created and first published in 1996 and album includes the sound
    6         recording Man U Luv ta Hate; and
    7               (c)    Attached to this Declaration as Exhibit 23 is a true and
    8         correct copy of the lyrics of Man U Luv ta Hate that I obtained from the
    9         Google           Play          Music           Internet          website,
  10          https://play.google.com/music/preview/Ts52tynvdqsdaq2ecmute5o7h7u
  11          ?lyrics=1&utm_source=google&utm_medium=search&utm_campaign
  12          =lyrics&pcampaignid=kp-lyrics, marked to show the relevant lyrics. I
  13          have compared the lyrics in the sound recording Man U Luv ta Hate
  14          and the lyrics attached as Exhibit 23 and believe they are the same
  15          except that the chorus, including the lyrics “If you want to playa hate” –
  16          is repeated additional times in the sound recording Man U Luv ta Hate.
  17          18.   In support of defendants’ request for judicial notice that Playa Hater is
  18    the title of a 1997 song by Notorious B.I.G. and includes the lyrics “Playa, turn your
  19    head round” and “We have, the playas, and we have, the playa haters”:
  20                (a)    The CD submitted with this Declaration contains as
  21          Exhibit 24 a true and correct sound recording of Playa Hater by
  22          Notorious B.I.G., which I purchased from iTunes;
  23                (b)    Attached to this Declaration as Exhibit 25 is a true and
  24          correct copy of the results of the search I conducted of the Copyright
  25          Office’s searchable Internet database, for the sound recording Playa
  26          Hater by Notorious B.I.G. and which states that the copyright in the
  27          album Life After Death by Notorious B.I.G. was registered with the
  28          Copyright Office on May 2, 1997, the album was created and first
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    1         published in 1997 and album includes the sound recording Player
    2         Hater; and
    3               (c)    Attached to this Declaration as Exhibit 26 is a true and
    4         correct copy of the lyrics of Playa Hater by Notorious B.I.G. that I
    5         copied and pasted from Google.com, marked to show the relevant
    6         lyrics. I have compared the lyrics in the sound recording Playa Hater
    7         and the lyrics attached as Exhibit 26 and believe they are the same.
    8         19.   In support of defendants’ request for judicial notice that Hater Players
    9   is the title of a 1998 song by Black Star and includes the lyrics “I’m sick of the
  10    hater-players” and “Aiyyo, later for the hater-players/Yo-yo, yo-yo, later for these
  11    hater-players”:
  12                (a)     The CD submitted with this Declaration contains as
  13          Exhibit 27 a true and correct sound recording of Hater Players by
  14          Black Star, which I downloaded from youtube.com;
  15                (b)    Attached to this Declaration as Exhibit 28 is a true and
  16          correct copy of the results of the search I conducted of the Copyright
  17          Office’s searchable Internet database, for the sound recording Hater
  18          Players by Black Star and which states that the copyright in the musical
  19          composition Hater Players by Black Star was registered with the
  20          Copyright Office on February 13, 2003 and Hater Players was created
  21          and first published in 1998; and
  22                (c)    Attached to this Declaration as Exhibit 29 is a true and
  23          correct copy of the lyrics of Hater Players that I copied and pasted from
  24          Google.com, marked to show the relevant lyrics. I have compared the
  25          lyrics in the sound recording Hater Players and the lyrics attached as
  26          Exhibit 29 and while there are differences, the marked lyrics do appear
  27          in the sound recording Hater Players.
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    1         20.      In support of defendants’ request for judicial notice that Don’t
    2   Hate the Player is the title of a 1999 song by Ice-T and includes the lyrics
    3   “Bunch of players listenin’ to the seventh deadly sin,” “Ice-T baby, this goes
    4   out to all you haters out there” and “Don’t hate the player”:
    5                (a)    The CD submitted with this Declaration contains as
    6         Exhibit 30 a true and correct sound recording of Don’t Hate the Player
    7         by Ice T, which I downloaded from youtube.com;
    8                (b)    Attached to this Declaration as Exhibit 31 is a true and
    9         correct copy of the results of the search I conducted on the Internet
   10         music database, www.allmusic.com, for the recorded composition
   11         Don’t Hate the Player by Ice T, and which state that Don’t Hate the
   12         Player appears on the Ice T album Seventh Deadly Sin released in 1999;
   13         and
   14                (c)    Attached to this Declaration as Exhibit 32 is a true and
   15         correct copy of the lyrics of Don’t Hate the Player by Ice T that I
   16         copied                   and                  pasted                  from
   17         https://www.azlyrics.com/lyrics/icet/donthatetheplaya.html, marked to
   18         show the relevant lyrics. I have compared the lyrics in the sound
   19         recording Don’t Hate the Player by Ice T and the lyrics attached as
   20         Exhibit 32 and believe they are the same.
   21         21.      In support of defendants’ request for judicial notice that Don’t Hate the
   22   Player is the title of a 2000 song by Too Short and includes the lyrics “Don’t hate
   23   the player,” “If you never was a player, I can’t hate you,” “You never was a player,
   24   we can’t hate you,” “You think someone player hated”:
   25                (a)    The CD submitted with this Declaration contains as
   26         Exhibit 33 a true and correct sound recording of Don’t Hate the Player
   27         by Too Short, which I downloaded from iTunes;
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    1               (b)   Attached to this Declaration as Exhibit 34 is a true and
    2         correct copy of the results of the search I conducted of the Copyright
    3         Office’s searchable Internet database, for the sound recording Don’t
    4         Hate the Player by Too Short and which states that the copyright in the
    5         musical composition Don’t Hate the Player by Too Short was
    6         registered with the Copyright Office on January 1, 2017 and Don’t Hate
    7         the Player was created and first published in 2000; and
    8               (c)   Attached to this Declaration as Exhibit 35 is a true and
    9         correct copy of the lyrics of Don’t Hate the Player by Too Short that I
   10         obtained    from   the   Google     Play    Music    Internet   website,
   11         https://play.google.com/music/preview/Tx64c5lhz5mhwpovyjlx4ya6vh
   12         i?lyrics=1&utm_source=google&utm_medium=search&utm_campaign
   13         =lyrics&pcampaignid=kp-lyrics, marked to show the relevant lyrics. I
   14         have compared the lyrics in the sound recording Don’t Hate the Player
   15         by Too Short and the lyrics attached as Exhibit 35 and believe they are
   16         the same.
   17         I declare under penalty of perjury that the foregoing is true and correct.
   18   Executed on January 3, 2018.
   19
   20                                                     /s/ Peter J. Anderson
   21                                                    PETER J. ANDERSON

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